


Per Curiam.

The medical payments provision of the insurance policy herein involved did not specifically provide for payment of chiropractic services. There was no competent medical proof that such services were a necessary medical expense. The chiropractor was not qualified to testify that in his opinion the treatment rendered by him was a necessary medical expense arising from the accident. (Cf. Education Law, § 6558, subd. 2; § 6550, subd. 4; 6501, subd. 4; Matter of Riddett v. Allen, 23 A D 2d 458, 460.)
The judgment should be unanimously reversed, without costs, and a new trial ordered.
Concur — Gulotta, McDonald and Brenner, JJ.
Judgment reversed, etc.
